

Matter of Karabetsos (2024 NY Slip Op 04232)





Matter of Karabetsos


2024 NY Slip Op 04232


Decided on August 15, 2024


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:August 15, 2024

PM-163-24
[*1]In the Matter of Frank Evan Karabetsos, an Attorney. (Attorney Registration No. 4078028)

Calendar Date:August 12, 2024

Before:Egan Jr., J.P., Aarons, Pritzker, Reynolds Fitzgerald and McShan, JJ.

Frank Evan Karabetsos, Chicago, Illinois, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany (Alison M. Coan of counsel), for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Frank Evan Karabetsos was admitted to practice by this Court in 2002 and lists an address in Chicago, Illinois with the Office of Court Administration. Karabetsos now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Karabetsos's application.
Upon reading Karabetsos's affidavit sworn to June 12, 2024 and filed June 20, 2024, and upon reading the August 2, 2024 correspondence in response by the Deputy Chief Attorney for AGC, and having determined that Karabetsos is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Egan Jr., J.P., Aarons, Pritzker, Reynolds Fitzgerald and McShan, JJ., concur.
ORDERED that Frank Evan Karabetsos's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Frank Evan Karabetsos's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Frank Evan Karabetsos is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Karabetsos is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Frank Evan Karabetsos shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








